 

 

0 .

. F ` L §emO?-cv-OZB€G Document #: 1 Filed: 05/08/07 Page 1 of 19 Page|D #:1

Mm\£m_w_bnnm¢ UNITED STATES march CoURT
c\.Em¢. u.s. minch cBuRT NonTnanN march oF ILLINoIS

EASTERN DIVISIDN

Ban'y Gilfand, Aa;ron Gilfand,
Adam Mastrucci and Scott Lowrancc,

Plaintif’t`a,

07CV2566

a ar anc leer re o ames JUDGE LE|NENWEBER
ggf"i`idcrfch§inl::ltrio:i§(:;-akcsf}@f§icldi: B l MAG . J U DG E KEYS

)
)
)
_)
)
v. )
)
§
Vinccnt Matthcws, (Jt`ficcr Matiaa Padilla, ) ‘- -_ ._
)
)
)
)
_)
)
)
)
)
)
)

Ot`ticcr Paul Powers, Sgt. Dalc Kingslcy,
Officcr Kcnncth Ca;rlyon, Ol"ficcr Ftcderick
Collins, Officcr Chriatophcr Lindahl,
Ol"ticcr Nicolc Mayoski, Officcr Ana Pina,
Probationary Oi"t`iccr Donald Lupo,
Probationary OI`iiccr Grcgoi'y Morabito,
Probationa;ry Ot`t`iccr Sarah Zarcone_; and
Thc City of Chicago, a municipal
corporation,
Dcfcndants.
CUMPLAINT

NOW COME thc plaintifTS, Barry Gilt`and_, Aaron Gilfand, Adam Mastrucci and
Scott Lowrancc (“plaintiffs”), by and through their attomcys, Lot`tua and Saltzbcrg_, P.C.
and Stcvcn H. Fine, complaining of thc defendants chfcry Planey, Grcgory Bamcs,
Dcmct;rios Kcrcakcs, Vinccnt Matthcw$, Matiaa Padilla, Paul Powcra1 Dalc Kingslcy,
Kcnncth Carlyon, Frcdcrick Collins, Chriatophcr Lindahl, Nicolc Mayoski, Ana Pina,
Donald ano, Grcgory Morabito and Sarah Zarconc (collcctivcly, thc “ol"|icer

dcfcndants”), and the City ol`Chicagc, a municipal corporation (thc "‘City”) aa follows:

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 2 of 19 Page|D #:2

JURISDICTION AN]) VENUE

l. Jurisdiction is invoked pursuant to the Fourtli and Fourteenth
Arnendrnents to the Constitution of the United States, Title 42, U.S.C. §§ 1933 and 2000e
Supplemental jurisdiction arises pursuant to 28 U.S.C. §§1331 and l343(a).

2. Venue is proper_, pursuant to 28 U.S.C. §1391 in as much as the
defendants reside or are located in the Northern l_)istrict of lllinois and the plaintiffs
reside in the Northern Distriet of lllinois, and all of the acts and damages complained of
herein occurred in the Northern Distriet of lllinois.

PARTIES

3. Plaintiffs Barry Gilfand, Aaron Gilfand, Adarn Mastrucci and Seott
Lowranee are citizens of the United States and residents of the State of lllinois.

4. Defendants Jeffery Planey, Gregory Barnes, l')ernetrios Kerealces, Vinecnt
Malthews, Matias Padilla_, Paul Powers, Dale Kingsley, Kenneth Carlyon, Frederiek
Collins, Christopher l,indahl, Nieole Mayoski, Ana Pina, Donald Lupo, Gregory
Morabito and Sarah Larcone were, at all relevant times, employed by the City of Chicago
as sworn police ol`l`icers. Defendants Grcgory Barnes, Demetrios Kereakes, Vincent
Matthews, Matias Padilla, Paul Powers, Kennetli Carlyon_, Fredcriek Collins_, Christopher
Lindahl, Nicole Mayoski and Ana Pina are patrol ol`licers; l'_)el"endants Jeffery Planey and
Dale Kingsley arc sergeants_; Dcfcndants Donald Lupo, Gregory Morabito and Sarab
Zarcone are probationary police officers All of the Chieago Police Offleers are sued in

their individual capacities

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 3 of 19 Page|D #:3

5. Defendant CITY Of" Cl‘llCAGO is a municipal corporation of the State of
lllinois and is and Was, at all relevant times, the employer of the officer defendants The
City of Chieago maintains_, manages and/or operates the Chicago Police Department.

M

6. On December 15, 2006_, plaintiffs Were patrons of .Tefferson Tap and
Grille, located at 323 N. Jefferson Street, in the City of Chicago, County of Cook, State
of lllinois.

7. Wliile finishing a game of billiards, plaintiffs Were attackedJ without
provocation, by six Chlcago Police Ofticers: Sgt. .leffery Planey, Officer Gregory
Bames, Offlcer l')emetrios Kereakes_, Officer Vincent Matthews, Offieer Matias Padilla
and Officer Paul Powers (“the assaulting officers”), who Were also patrons of the
establishment.

3. The assaulting officers had been consuming alcohol prior to the attackl

9. On information and belief5 one or more of the assaulting officers Was
carrying a firearm during the attack

lO. During the assault, the officers pulled plaintiffs to the ground from behind,
savager struck plaintiffs repeatedly about their bodies, kicked plaintiffs numerous times
while they were collapsed on the ground and in a prone position_, slammed certain
plaintiffs forcefully against Walls and furniture to facilitate hitting them, carried one
plaintiff outside to continue the attack and stole one plaintist cellular phone, by means
of forec_, to prevent him from calling for assistance At times, three to four assaulting

officers beat one plaintiff simultaneously

w

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 4 of 19 Page|D #:4

ll. Throughout the ordeal, plaintiffs did not struggle or resist the assaulting
officers in any way. Plaintiffs repeatedly begged the assaulting officers to stop and asked
the assaulting officers why they Were beating plaintiffs, but the assaulting officers refused
to answer.

12. l-‘laintiffs repeatedly held their hands up in the air to indicate that they
were not resisting the assau.lt, but the assaulting officers would not stop.

l3. At various times during the course of the beating and after the beating
stopped, nine Chieago Pelice C)f`ficers: Sgt. Kingsfey_, Ufficcr Carlyon, Offieer Collins,
Officer Lindahl, Officer Mayoski, Officer Pina, P'PO Lupo, PPO Morabito and PPO
Zal‘cone (“the responding officers”)_, responded to the scene. On information and belief,
the first responding officers who arrived on the scene included Of`fieers Carlyon, Collins,
Mayoski, Pina, Lupo and Morabito, in two marked Chicago Police vehicles and one
marked Chieago Police Wagon. Dnc of the plaintiffs approached one of the marked
squad cars and begged for help as his attackers Were also outside. However, after
assaulting officer Sgt. Planey spoke with the responding officers, instead of the
responding officers conducting even a cursory investigation, they all immediately left the
scene without intervening ln f`act, the first group of responding officers were so anxious
to leave the scene aHer speaking With assaulting officer Sgt. Planey, that they slammed
their squad car door on one plaintiffs coat while he begged them for help. T'his event was
also captured on the video. The first group of responding officers Were so anxious to
leave the scene that they literally sped away backwards, up the street, while the attack
continued. The first group of responding officers never left their vehicles to discuss the

assault with the plaintiffs or with anyone else at .leffierson’s. The responding officers did

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 5 of 19 Page|D #:5

not interview any witnesses1 did not speak with plaintiffs and did not even enter the
premises The first group of` responding officers did not make a report and did not record
any statements from anyone at the scene.

l4. Af`ter the attack, defendant responding officers Sgt. Kingsley, Uffieer
Lindahl and PPO Sarah Zarcone came to the scene and were verbally abusive to
plaintiffs. They refused to take statements from plaintiffs, failed to interview witnessesj
refused to pursue the assaulting officers who had fled the premises and termed the matter
a simple bar fight. Responding officers Sgt. Kingsley_, Offieer Lindahl and PPO Zareone
ignored the obvious severity of the beating.

15. As a result of the attack, plaintiffs all sustained severe physical injuries
including, but not limited to: broken ribs, broken and bruised facial bones_, injured
vertebrae and spinal discs, injured shoulder and neck, injured elbow, serious damage to
the hips, bruises, contusions and scrapes. Some of the injuries are likely to be permanentl

16. Also as a result of the attack, plaintiffs all sustained severe emotional
injuries including, but not limited to, fear of additional attack_, fear of retaliation by the
defendants, fear of other members of` the Chicago Police Department, fear of strangers,
humiliation and other emotional injuries.

17. Security video cameras captured much of the attack on video tape. The
Chicago Police Department had access to the tape and to several witnesses, within a few
days of the beating

18. Within approximately one week of the attack, Chicago Police Gt`ficers, not
named herein., on information and belief, attempted to intimidate certain plaintiffs by,

inter alia, approaching one plaintiffs sister and hanging on her door for 30 minutes after

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 6 of 19 Page|D #:6

l(l:flO at night. Plaintiff and his sister do not have the same last name and plaintiff did
not provide his sister’s address to the Chicago Police Department. Another unnamed
Chicago Police Officer tracked down one of the plaintiffs at his home and demanded that
the plaintiff accompany him for an immediate interview by Chicago Policc.

19. On information and belief, not one of the assaulting officers reported the
misconduct of any ofthe other assaulting officers.

20. Plaintiffs voluntarily gave statements to the Chicago Police l.')epartrnent’s
Office of Professional Standards (‘(JPS"). Plaintiffs also gave OPS access to their
medical records. GPS assured plaintiffs that it would investigate the matter immediately.

2l. Despite OPS’s assurances to the plaintiffs, OPS did not even immediately
report the matter to the Cook County State’s Attorney Office.

22. ln December, 2006, the Acting Head of OFS even represented that the
Superintendent of Police, Philip Cline, was aware of the incident and would act quickly.
Despite its assurances and despite the confirming video tape of the incident, OPS failed
to take any action against any of the officers for more than three months During that
time_, the officer defendants retained their authority as sworn police officers, were
allowed to carry their guns and badges and received their Chicago Police payeheeks.

23. On March 23rd, 2007, only after the media exposed the incident, the
assaulting officers were stripped of their police authority, but retained their pay. As of
today’s date, the City of Chieago has still not taken any action against any of the
responding officers. On information and belief`, as of 'today's date, all of the officer
defendants are still receiving their paychecks as employees of the City of Chicago. OPS

has utterly failed to maintain communication with the plaintiffs.

 

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 7 of 19 Page|D #:7

24. As a result of the bad faith investigation of the officer defendants’ conduct
by the OPS investigatorsj the complaints and evidence related to plaintiffs’ beating were
improperly and insufficiently addressed and/or allowed to occur Without consequence

25. Plaintiffs have been so fearful of additional attempts of retaliation by
members of the Chicago Police Department that they have left the City of Chicago, more
than onee, in an effort to keep safe.

COUNT l - 42 U.S.C. §_1983
FIRST AMENDMENT! EXCESSIVE FORCE/EQUAL PR(]TECTIDN
MONELL CLAIM
(Assaulting Offiecrs and the City of Chicago)

26. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein

27. As described in the preceding paragraphs, the conduct of the assaulting
officers, acting under color of law and within the scope of their employment, constituted
excessive force in violation of the United States Constitution.

28. The conduct described in this Count was objectively unreasonable and was
undertaken intentionally with willful indifference to plaintiffs’ constitutional rights.

29. The conduct described in this Count was undertaken pursuant to the policy
and practice of"the Chicago Police Department in that:

a. As a matter of both policy and practice, the Chicago Police
Department directly encourages, and is thereby the moving force
behind, the very type of conduct at issue here by failing to adequately
train, supervise and control its officers, such that its failure to do so

manifests deliberate indifferenee;

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 8 of 19 Page|D #:8

b. As a matter of both policy and practice_, the Chicago Police

Department facilitates the very type of conduct at issue here by failing
to adequately punish and discipline prior instances of similar
misconduct, thereby leading Chicago Police Officers to believe that
their actions will never be scrutinized and, in that Way, directly
encouraging future abuses such as those affecting plaintiffs;

Cienerally, as a matter of widespread practice, so prevalent as to
comprise municipal poliey, Chieago Police Department officers abuse
citizens in a manner similar to that alleged by plaintiffs in this Count,
yet the Chicago Police Department makes findings of wrongdoing
only in a disproportionately small number of cases;

City policymakers were deliberately indifferent to the series of bad
acts by Chicago Police Officers from which it can be inferred that the
City policymakers were bound to have noticed what was going on and
yet they failed to act, thereby encouraging or at least condoning (in
either event, adopting) the misconduct of the assaulting officers;.
During the relevant timej the Chicago Police Dcpartment had one or
more of the following: l) a custom of ehastising officers who violate
the code of silence; or 2) a custom of failing to train police officers to
not retaliate against officers who violate the code of silence; 3) a
custom of not disciplining police officers who retaliate against officers
who violate the code of silence; or 4) a custom of failing to properly

supervise officers engaged in wrongful eonduet_;

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 9 of 19 Page|D #:9

h.

Despite general orders prohibiting police officer misconduct, the
current Superintendent of the Chieago Police Dcpartment has testified,
under oath, that CPD’s general orders are merely guidelines;

The City ofChicago has negotiated a contract with the police union in
which the City has agreed not to check discipline histories while
conducting internal affairs investigations of officers suspected of
misconduct;

City policymakers are aware of (and condone and facilitate by their
inaction) a “eode of silence"` in the Chicago Police Departrnent, by
which officers fail to report misconduct committed by other of`ficers,
such as the misconduct at issue in this case;.

The lf'_`.ity of Chieago and the relevant policymakers have failed to act
to remedy the patterns of abuse described in the preceding sub-
paragraphs, thereby tacitly approving and ratifying the type of
misconduct alleged here;

The City of Chicago acquiesced in a longstanding practice or custom
of failing to discipline officers engaged in illegal conduct from which
the unconstitutional code of silence can be inferred',

The City of Chicago developed and maintained this widespread de
facto policy and custom with regard to concealing and/or suppressing
officer misconduct (both on duty and off duty misconduct), including
the use of unlawful force. The concealment and suppression of the

existence of misconduct includes, but is not limited to: failure to

 

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 10 of 19 Page|D #:10

30.

sufficiently investigate allegations of` misconduct, failure to accept
complaints from citizens against police of`ficers; failure to promptly
record witness statements or preserve evidence, failure to promptly
interview suspect officers, failure to properly and sufficiently
discipline officers, and failure to initiate prompt disciplinary
procedures related to alleged misconduct; failure to investigate
complaints against off-duty officers in thc same manner as complaints
against citizens, and,

The City of Chicago developed and maintained this widespread dc

facto policy and custom with regard to acts of illegality committed by

officers against civilians which encouraged the assaulting officers to
believe that they could deprive plaintiffs of their Constitutionaf rights
with impunity and with the explicit or tacit approval of the City of

Chicago.

As a direct and proximate result of the City of Chicago and the assaulting

officers intentionally1 knowingly, unlawfully and unconscionably acting in thc manner

aforesaid, plaintiffs have and will suffer lost wages, benefits and entitlenients, damage to

their careers and reputation_, pain, suffering, and humiliation and severe emotional

distress and have been deprived of` certain rights and privileges as citizens ot` the United

States all in violation of42 U.S.C. §1983.

Wl-IEREFORE, plaintiffs pray that the Court enter judgment in their favor and

against defendants City ofChicago, Sgt. .leffery Planey, Officer Gregory Barnes_, Officcr

Demetrios Kereakes, Officer Vincent Matthews, Officer Matias Padilla and Officer Pau|

10

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 11 of 19 Page|D #:11

Powers, awarding compensatory damages and attorneys’ fees, along with punitive
damages against the individual officers, and any other relief this Court deems
appropriate
COUNT ll - 42 U.S.C. §1983
DUE PROCESS/FIRST AMENDMENT/ EXCESSIVE F()RCE/EQUAL
PRDTECTION - MUNELL CLAlM/FAILURE TO INTERVENE
(City of Chicago and Responding Ofliccrs)

31. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein,

32. The responding officers did not participate in the brutal attack, but thcy,
acting under color of law and within the scope of their employment, stood by and failed
to intervene

33. The responding officers Who first arrived on the scene were in a position
to stop the attack but they failed to do so. Despite the plaintiffs pleas for help, the first
responding officers even failed to enter .lefferson’s. They did not take statements from
any plaintiff, did not speak to Witnesses and did not check the interior of lefferson’s
where the two other plaintiffs were being attacked. They did not bother to verify
Jef`ferson’s license status and they did not speak with chferson’s personnell They also
did not seek out or interview the individua](s) who had placed the 9-1-1 call. The
responding officers who first arrived on the scene and refused to investigate or leave their
vehicles were in a position to know that thc assaulting officers were engaged in illegal
conduct

34. The responding officers who first arrived on the scene ignored the

plaintiffs pleas for assistance.

ll

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 12 of 19 Page|D #:12

35. The responding officers who first arrived on the scene and refused to
investigate had a reasonable opportunity to stop thc illegal attack, but failed to do so.
36. The responding officers who arrived after the attack, failed to properly
investigate, failed to press charges and failed to even pursue the assaulting officers
37. By reason of the responding officet‘s’ conduct, all plaintiffs were deprived
of rights, privileges and immunities secured to them by the Constitution of the United
States and laws enacted thereunderi
38. The conduct described in this Count was undertaken pursuant to the policy
and practice of the Chicago Police Department in that:
a, As a matter of both policy and practice, the Chieago Police
Department directly encourages, and is thereby the moving force
behind, the very type of conduct at issue here by failing to adequately
train, supervise and control its officers, such that its failure to do so
manifests deliberate indifference;
b. As a matter of both policy and practice, the Chicago Police
Department facilitates the very type of conduct at issue here by failing
to adequately punish and discipline prior instances of similar
misconduct_, thereby leading Chicago Police (_`)fficcrs to believe that
their actions will never be scrutinized and, in that way, directly
encouraging future abuses such as those affecting plaintiffs;
c. Generally, as a matter of widespread practice, so prevalent as to
comprise municipal policy, Chicago Police Department officers abuse

citizens in a manner similar to that alleged by plaintiffs in this Count,

12

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 13 of 19 Page|D #:13

yet thc Chicago Police Department makes findings of wrongdoing
only in a disproportionately small number of cases;

City policymakers were deliberately indifferent to the series of bad
acts by C`.hicago Police Officers from which it can be inferred that the
City policymakers were bound to have noticed what was going on and
yet they failed to act_, thereby encouraging or at least condoning (in
either event_, adopting) the misconduct of the responding officers;
l')uring the relevant time, the Chicago Police Dcpartment had one or
more of the following: l) a custom of ehastising officers who violate
the code of silence; or 2) a custom of failing to train police officers to
not retaliate against officers who violate the code of silence_; 3) a
custom of not disciplining police officers who retaliate against officers
who violate the code of silencc_; or 4) a custom of failing to properly
supervise officers engaged in wrongful conduct;

Despite general orders prohibiting police officer misconduct_, the
current Superintcndent of the Chicago Police Department has testified,
under oath, that CPD’s general orders are merely guidelines;

The City of Chicago has negotiated a contract with the police union in
which the City has agreed not to check discipline histories while
conducting internal affairs investigations o|` officers suspected of
misconduct;

City policymakers are aware of (and condone and facilitate by their

inaction) a “code of silence” in the Chicago Police Department, by

13

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 14 of 19 Page|D #:14

 

which officers fail to report misconduct committed by other officers
such as the misconduct at issue in this case;

The City of Chicago and the relevant policymakers have failed to act
to remedy the patterns of abuse described in the preceding sub-
paragraphs, thereby tacitly approving and ratifying the type of
misconduct alleged here;

'l` he City of Chicago acquiesced in a longstanding practice or custom
of failing to discipline officers engaged in illegal conduct from which
the unconstitutional code of silence can be inferred;

The City of Chicago developed and maintained this widespread de
facto policy and custom with regard to concealing andfor suppressing
officer misconduct, including the code of silence. The concealment
and suppression of the existence of misconduct includes, but is not
limited to: failure to sufficiently investigate allegations of misconduct,
failure to accept complaints from citizens against police officers;
failure to promptly record witness statements or preserve evidence,
failure to promptly interview suspect officers_, failure to properly and
sufficiently discipline officers, failure to initiate prompt disciplinary
procedures related to alleged misconduct, failure to investigate
complaints against off-duty officers in the same manner as complaints
against citizens; and,

'l`hc City of Chicago developed and maintained this widespread de

facto policy and custom with regard to acts of illegality committed by

14

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 15 of 19 Page|D #:15

officers against civilians which encouraged the responding officers to
believe that they could deprive plaintiffs of their Constitutional rights
with impunity and with the explicit or tacit approval of the City of
Chicago.

39. As a direct and proximate result of the City of Chicago and the responding
officers intentionally, knowingly, unlawfully and unconscionably acting in the manner
aforesaid, plaintiffs have and will suffer lost wages_, benefits and entitlements damage to
their careers and rep‘utation, pain, suffering, and humiliation and severe emotional
distress and have been deprived of certain rights and privileges as citizens of the United
States all in violation off-12 U.S.C. §1983.

WIIEREFORE, plaintiffs pray that the Court enter judgment in their favor
and against defendants City of Chicago, Sgt. Kingsley, Officer Carlyon, Officer Collins,
C)fficer Lindahl, Officer Mayoski, Officer Pina, PP(J Lupo, PPO Morabito and PPO
Zarcone, awarding compensatory damages and attorneys’ fees, along with punitive
damages against thc individual officers, and any other relief this Court deems
appropriate

COUNT III - BATTERY
(Assaulting Of`ficers)

40. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein.

41. As described in the preceding paragraphsj the conduct cf the assaulting
officers, acting within the scope of their employment as police officers constituted
unjustified and offensive physical contact, undertaken willfully and wantonly,

proximately causing plaintiffs’ bodily injuries

15

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 16 of 19 Page|D #:16

42. The misconduct described in this Count was objectively unreasonable and
was undertaken intentionally with willful indifference to _plaintiffs’ constitutional rights

43. Fl`hc misconduct described in this Count was undertaken by the assaulting
officers within thc scope of their employment such that their employer, the City of
Chicago, is liable for their actions.

44. As a direct and proximate result of the assaulting officers’ acts, plaintiffs
were injured, suffering serious bodily injuries, emotional anxiety, mental trauma,
humiliation, fear, stress, pain and suffering and other damages

Wl-IEREFORE, plaintiffs respectfully request that this Cotu't enter judgment in
their favor and against defendant assaulting officers Sgt. Jeffery Planey, Of`ficer Gregory
Barnes, Officer Demetrios Kereakes, Officer Vincent lvlatthews, Officer Matias Padilla
and Officer Paul Powers, awarding compensatory damages_, as well as punitive damages
against the individual defendants and any other relief this Court deems just and
appropriate

COUNT lV - ASSAUL'I`
(Assaulting foicers]

45. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein.

46. As described in the preceding paragraphs the conduct cf the assaulting
officers, acting within the scope of their employment as police officers, created a
reasonable apprehension of imminent hann, undertaken willfully and wantonly,
proximately causing plaintiffs° emotional and other injuries

47. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally with willful indifference to plaintiffs’ constitutional rightsl

16

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 17 of 19 Page|D #:17

48. 'l`he misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to thc rights of others

49. As a result of the assaulting officers’ conduct, plaintiffs had a reasonable
apprehension that their lives were in danger.

50. The misconduct described in this Count was undertaken by the assaulting
officers within the scope of their employment such that their employer, the City of
Chicago, is liable for their actions

Wl-IEREFGRE, plaintiffs respectliilly request that this Court enter judgment in
their favor and against defendant assaulting officers Sgt. chfery Plancy, leficer Gregory
Elarnes, Officcr Dcmetrios Kereakes, leficer Vincent Matthews, Of`ficer l\/latias Padilla
and Officer Paul Powers, awarding compensatory damages, as well as punitive damages
against the individual defendants and any other relief this Court deems just and
appropriatel

COUNT V - CONVERSION
(Sgt. Planey)

51. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein.

52. ln the context of assaulting plaintiff Barry Gilfand_, defendant Sgt. Planey,
by use off`orce, assumed control of plaintiff Barry Gill`and's cellular telephone

53. Sgt. Plancy"s assumption of control over plaintiffs possession was
unauthorized and wrongful

54. Plaintiff Barry Gilfand had the right to control and retain possession of his
cellular telephone but defendant Sgt. Planey has deprived plaintiff Gilfand of his

personal property without his consent.

17

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 18 of 19 Page|D #:18

Wl-IEREFORE, plaintiffs respeettiilly request that this Court enter judgment in
their favor and against defendant Sgt. Jeffery Planey awarding compensatory damages, as
well as punitive damages against him, individually, and any other relief this Court deems

just and appropriate.

COUNT VI -RESPONDEAT SUPERIUR
(City of Chieage)

55. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein.

56. In committing the acts alleged in the preceding paragraphs, the officer
defendant were members of, and agents of, the Chicago Police Department, acting at all
relevant times within the scope of their employment

57. Defendant City of C‘.hicago is liable as principal for all torts committed by
its agents.

WHEREFC|RE, plaintiffs respectfully request that the Court enter judgment in
their favor and against defendant City of Chieago, in an amount equal to any award

against the officer defendants

COUNT Vl - INDEMNIFICATION
(City of Chicage)

58. Plaintiffs reallege each of the foregoing paragraphs as if fully stated
herein.

59. illinois law provides that public entities are directed to pay any tort
judgment for compensatory damages for which employees are liable within the scope of

their employment activities

18

 

 

 

Case: 1:O7-Cv-02566 Document #: 1 Filed: 05/08/07 Page 19 of 19 Page|D #:19

60. The officer Defiendants are or were employees of the Chicago Police
Department, who acted within the scope of their employment in committing the
misconduct described herein.

WIIEREFORE, plaintiffs respectfully request that this Court enter judgment in
their favor and against defendant City of Chicago in the amounts awarded to plaintiffs
against the officer defendants, as well as any other relief this Court deems just and
appropriate

JURY DEMAND

Plaintiffs hereby demand a trial by jury on all issues so triable.

Date: May 8, 2007 Ftespeetfully submitted,
Aaron Gili"and, Barry Gilt`and,
Adam Mastrucci and Scott Lowrance,

 

ll`t)ne of their Attolvfeysl
Sally H. Saltzberg Steven I-l. Fine
P. Michael Loftus 53 W. .laclcson Blvd_, Suite 1515
llotl‘us & Saltaberg, P.C. Chicago, IL 60604
53 West Jackson, Suite 1515 (312) 922-0855
Chicago, Illinois 60604 Firm l\lo: 39450

(312) 913-2000
rim Ne. nasa

19

 

